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                                                                                     United States Bankruptcy Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                                August 31, 2024
                       FOR THE SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                               GALVESTON DIVISION

In Re:                                         §
                                               §
ADDISON OAKS HOLDINGS, LLC,                    §      Case No. 24-80128
                                               §
         Debtor                                §      Chapter 11


                     ORDER ON MOTION FOR RELIEF FROM THE
                  AUTOMATIC STAY FILED BY MEAGHAN WILSON
                                        (ECF No. 85)
         Came on for consideration Meaghan Wilson’s Motion for Relief from the Automatic Stay

(the “Motion”)1 and the Court being of the opinion that cause exists to lift the automatic stay, it is

therefore:

         ORDERED that the automatic stay is lifted for Meaghan Wilson to proceed with trial of

the Personal Injury Suit in Galveston County, Texas to the point of final judgment, exhaustion of

any appeals therein, and satisfaction of any judgment rendered therein but only to the extent of

Debtor’s available insurance coverage.




                  August 31, 2018
                   April 04, 2024




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